Case 1:21-cv-06479-VSB Document 15-19 Filed 10/11/21 Page 1 of 7




                EXHIBIT 19
             Case
             Case 21-32261  Document Document
                  1:21-cv-06479-VSB  44-19 Filed in TXSB
                                           RP-2017-117840
                                               15-19      on10/11/21
                                                      Filed  08/03/21 Page
                                                                       Page2 2ofof7 7
                                               03/21/2017   ER   $32.00




        ASSIGNMENT OF DEED OF TRUST, ASSIGNMENT OF LEASES AND RENTS AND
                             SECURITY AGREEMENT

             RIALTO MORTGAGE FINANCE, LLC, a Delaware limited liability company
                                    (Assignor)

                                              to

        WILMINGTON TRUST, NATIONAL ASSOCIATION, AS TRUSTEE FOR THE BENEFIT
         OF THE REGISTERED HOLDERS OF WELLS FARGO COMMERCIAL MORTGAGE
         TRUST 2016-LC25, COMMERCIAL MORTGAGE PASS-THROUGH CERTIFICATES,
                                  SERIES 2016-LC25
~                                     (Assignee)
CX)
r,...
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~
    I
r,...                                  County of Harris
~

0                                       State of Texas
N
    I
0....
0::::         DOCUMENT PREPARED BY AND WHEN RECORDED, RETURN TO:
                                 McCoy & Orta, P.C.
                            100 North Broadway, 26 th Floor
                           Oklahoma City, Oklahoma 73102
                              Telephone: 888-236-0007
                   Case
                   Case21-32261   Document Document
                        1:21-cv-06479-VSB  44-19 Filed in TXSB
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         ASSIGNMENT OF DEED OF TRUST, ASSIGNMENT OF LEASES AND RENTS AND
                              SECURITY AGREEMENT

                RIALTO MORTGAGE FINANCE, LLC, a Delaware limited liability company, having
        an address at 600 Madison Avenue, 12th Floor, New York, NY 10022, ("Assignor"), as the
        holder of the instrument hereinafter described and for valuable consideration hereby endorses,
        assigns, sells, transfers and delivers to WILMINGTON TRUST, NATIONAL ASSOCIATION,
        AS TRUSTEE FOR THE BENEFIT OF THE REGISTERED HOLDERS OF WELLS FARGO
        COMMERCIAL MORTGAGE TRUST 2016-LC25, COMMERCIAL MORTGAGE PASS-
        THROUGH CERTIFICATES, SERIES 2016-LC25, having an address at 1100 North Market
        Street, Wilmington, DE 19890, ("Assignee"), its successors, participants and assigns, without
        recourse or warranty, all right, title and interest of Assignor in and to that certain:

                DEED OF TRUST, ASSIGNMENT OF LEASES AND RENTS AND
                SECURITY AGREEMENT made by KORNBLUTH TEXAS, LLC, a Texas
                limited liability company to RIALTO MORTGAGE FINANCE, LLC, a Delaware
                limited liability company dated as of October 21, 2016 and recorded on October
                25, 2016, as Instrument Number RP-2016-481294 in the Recorder's Office of the
                County Clerk of Harris County, Texas ("Recorder's Office") (as the same has
                heretofore been amended, modified, restated, supplemented, renewed or
0               extended) ("Deed of Trust"), securing payment of note(s) of even date therewith,
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                in the original principal amount of $8,350,000.00, and creating a first lien on the
~               property described in Exhibit A attached hereto and by this reference made a part
~
    I           hereof.
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0               The Deed of Trust was assigned to RMF SUB 1, LLC, by assignment
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    I           instrument(s) recorded in the Recorder's Office simultaneously herewith.
0....
0::::           The Deed of Trust was further assigned to Assignor, by assignment instrument(s)
                recorded in the Recorder's Office simultaneously herewith.

               Together with any and all notes and obligations therein described, the debt and claims
        secured thereby and all sums of money due and to become due thereon, with interest provided
        for therein, and hereby irrevocably appoints Assignee hereunder its attorney to collect and
        receive such debt, and to foreclose, enforce and satisfy the foregoing the same as it might or
        could have done were these presents not executed, but at the cost and expense of Assignee.

                Together with any and all other liens, privileges, security interests, rights, entitlements,
        equities, claims and demands as to which Assignor hereunder possesses or to which Assignor is
        otherwise entitled as additional security for the payment of the notes and other obligations
        described herein.


        Reference No.: 4435.017
        Matter Name: Holiday Inn Webster
        Pool: WFCM 2016-LC25
                  Case
                  Case 21-32261  Document Document
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                                                                   08/03/21 Page
                                                                             Page4 4ofof7 7




               This Assignment shall be binding upon and shall inure to the benefit of the parties hereto
        and their respective successors and assigns.

                                   [SIGNATURE(S) ON THE FOLLOWING PAGE]




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        Reference No.: 4435.017
        Matter Name: Holiday Inn Webster
        Pool: WFCM 2016-LC25
              Case
              Case 21-32261  Document Document
                   1:21-cv-06479-VSB  44-19 Filed in TXSB
                                                15-19      on10/11/21
                                                       Filed  08/03/21 Page
                                                                        Page5 5ofof7 7




                IN WITNESS WHEREOF, the Assignor has caused this instrument to be executed this
           5
        ------·-- day of January, 2017.



                                                     RIALTO MORTGAGE FINANCE, LLC, a
                                                     Delaware limited liability company


                                                     By:~~
                                                     Name:   Marshall Van Smith
                                                     Title: Authorized Signatory




        STATE OF FLORIDA                    §
                                            §
        COUNTY OF MIAMI-DADE                §
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v
CX)              On the    3   day of January, 2017, before me, the undersigned, a Notary Public in
r,...   and for said state, personally appeared Marshall Van Smith, personally known to me -0f'-
~

~       proved to me on the easis of satisfaetory e•lideHee to be the person whose name is subscribed
    I
r,...   to the within instrument and acknowledged to me that he executed the same in his authorized
~
        capacity as Authorized Signatory of Rialto Mortgage Finance, LLC, a Delaware limited
0
N       liability company, and that by his signature on the instrument the person, or the entity upon
    I
0....   behalf of which the person acted, executed the instrument.
0::::
                                                   WITNESS my hand and official seal.




        Reference No.: 4435.017
        Matter Name: Holiday Inn Webster
        Pool: WFCM 2016-LC25
                 Case 1:21-cv-06479-VSB
                 Case 21-32261 DocumentDocument
                                        44-19 Filed in TXSB
                                                 15-19   Filedon 08/03/21Page
                                                               10/11/21   Page  6 of
                                                                              6 of 77




                                                 EXHIBIT A

                                           LEGAL DESCRIPTION



        Fee Parcel

        Tract I:

        Unrestricted Reserve "C", Block I, of One Bay Area Plaza, Harris County, Texas recorded under
        Film Code Number 612277 of the Map Records of Harris County, Texas; and

        Easement:

        TOGETHER WITH easement described in Easement Agreement, dated December 21, 2006,
        executed by and between Bay Area 4.5, Ltd., and Webster Hotel, LLC., as set forth in
        instrument(s) recorded at Harris County Clerk's File No. 20060296799 corrected by
        20080242828 of the Real Property Records of Harris County, Texas. As shown and noted on
        survey prepared by Prime Texas Surveys, dated September 30, 2016; Job No. 161190.

0       TOGETHER WITH easement described in Easement Agreement, dated dated December 6, 2007,
v
CX)
        executed by and between Bay Area 4.5, Ltd., and Webster Hotel, LLC., as set forth in instrument
r,...   recorded at Harris County Clerk's File No. 20070727577 of the Real Property Records of Harris
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~
        County, Texas and ratified by Narendra Maran, as set forth in Ratification of Plat and Easement
    I
r,...   Agreement recorded under Clerk's File No. 20080242827 of the Real Property Records of Harris
~       County, Texas. As shown and noted on survey prepared by Prime Texas Surveys, dated
0
NI      September 30, 2016; Job No. 161190.
0....
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        Reference No.: 4435.017
        Matter Name: Holiday Inn Webster
        Pool: WFCM 2016-LC25
        Case
         Case21-32261
              1:21-cv-06479-VSB
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                                 Document
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                                                         08/03/21 Page
                                                                   Page77ofof77




                  RP-2017-117840
                  # Pages 6
                  03/21/2017 09:20 AM
                  e-Filed   &   e-Recorded in the
                  Official Public Records of
                  HARRIS COUNTY
                  STAN STANART
                  COUNTY CLERK
                  Fees   $32.00




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0....             RECORDERS MEMORANDUM
0::::             This instrument was received and recorded electronically
                  and any blackouts, additions or changes were present
                  at the time the instrument was filed and recorded.




                  Any provision herein which restricts the sale, rental, or
                  use of the described real property because of color or
                  race is invalid and unenforceable under federal law.
                  THE STATE OF TEXAS
                  COUNTY OF HARRIS
                  I hereby certify that this instrument was FILED in
                  File Number Sequence on the date and at the time stamped
                  hereon by me; and was duly RECORDED in the Official
                  Public Records of Real Property of Harris County, Texas.



                                      COUNTY CLERK
                                      HARRIS COUNTY, TEXAS
